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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 CHENMING HOLDINGS (HONG KONG)
 LIMITED, a Hong Kong limited company,

                                Plaintiff,
                                                              Civil Case No. 1:24-cv-00935-KPF
                    -against-
                                                              DISCOVERY CONFIDENTIALITY
                                                              ORDER
 JOHN DOES 1-10, individuals and/or entities
 whose names are currently unknown to Plaintiff,

                                Defendants.



         WHEREAS, Plaintiff Chenming Holdings (Hong Kong) Limited (“Plaintiff” or

“Chenming”) commenced the above-captioned action on February 8, 2024, seeking relief from

multiple John Doe defendants arising out of a concerted fraudulent scheme perpetrated by

defendants and other affiliated entities against Plaintiff;

         WHEREAS, Plaintiff, through a motion for expedited discovery (“Motion”) filed on

February 26, 2024, sought leave of the Court to issue subpoenas on several non-party banks, who

Plaintiff believes may have information in their possession, custody or control sufficient to identify

defendants;

         WHEREAS, the Court granted the Motion and so-ordered the proposed subpoenas

attached thereto upon which Plaintiff served the subpoenas on the non-party banks;

         WHEREAS, non-party Citibank, N.A. (“Citi”) has refused to produce any documents

responsive to the subpoena served upon it absent the Court’s entry of an appropriate confidentiality

order;




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          WHEREAS, Plaintiff expects that the other non-party banks, JPMorgan Chase N.A. and

Community Federal Savings Bank, which to date have either failed to produce any responsive

documents or only minimal insufficient responsive documents, will likewise request such

confidentiality protection before making full and complete document productions;

          WHEREAS, the Court having found that good cause exists for the issuance of an

appropriately tailored confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure to facilitate discovery for purposes of identifying the John Doe defendants, it is hereby

          ORDERED that the following restrictions and procedures shall apply to the information and

documents exchanged by the parties in connection with the pre-trial phase of this action:1

         1.       Counsel for any party may designate any document or information, in whole or in

part, as confidential if counsel determines, in good faith, that such designation is necessary to

protect the interests of the client in information that is proprietary, a trade secret, or otherwise

sensitive non-public information (“Confidential Information”). Information and documents

designated by a party as confidential will be stamped “CONFIDENTIAL.”

         2.       The Confidential Information disclosed will be held and used by the person

receiving such information solely for use in connection with the action.

         3.       In the event a party challenges another party’s designation of confidentiality,

counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution, the

challenging party may seek resolution by the Court. Nothing in this Order constitutes an admission

by any party that Confidential Information disclosed in this case is relevant or admissible. Each

party reserves the right to object to the use or admissibility of the Confidential Information.




1
 Nothing in this Order shall prevent the parties from entering into a stipulated confidentiality and/or protective order
upon entry of appearance by defendants.

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          4.       Documents designated as “CONFIDENTIAL” shall not be disclosed to any person,

except:

                   a.     The requesting party and counsel, including in-house counsel;

                   b.     Employees of such counsel assigned to and necessary to assist in the

                          litigation;

                   c.     Consultants or experts assisting in the prosecution or defense of the matter,

                          to the extent deemed necessary by counsel; and

                   d.     The Court (including the mediator, or other person having access to any

                          Confidential Information by virtue of his or her position with the Court).

The parties should meet and confer if any production requires a designation of “For Attorneys’ or

Experts’ Eyes Only.”

          5.       Prior to disclosing or displaying the Confidential Information to any person,

counsel must:

                   a.     Inform the person of the confidential nature of the information or

                          documents;

                   b.     Inform the person that this Court has enjoined the use of the information or

                          documents by him/her for any purpose other than this litigation and has

                          enjoined the disclosure of the information or documents to any other person;

                          and

                   c.     Require each such person to sign an agreement to be bound by this Order in

                          the form attached as Exhibit A.

          6.       The disclosure of a document or information without designating it as

“CONFIDENTIAL” shall not constitute a waiver of the right to designate such document or



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information as Confidential Information. If so designated, the document or information shall

thereafter be treated as Confidential Information subject to all the terms of this Order.

       7.       Any Personally Identifying Information (“PII”) (e.g., social security numbers,

financial account numbers, passwords and information that may be used for identity theft) exchanged

in discovery shall be maintained by the receiving party in a manner that is secure, confidential and

shared only with authorized individuals in a secure manner. Nothing herein shall preclude the

producing party from asserting legal claims or constitute a waiver of legal rights and defenses in the

event of litigation arising out of the receiving party’s failure to appropriately protect PII from

unauthorized disclosure.

       8.       Pursuant to Federal Rule of Evidence 502, the production of privileged or work

product protected documents or communications, electronically stored information (“ESI”) or

information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or

protection from discovery in this case or in any other federal or state proceeding. This Order shall

be interpreted to provide the maximum protection allowed by Federal Rule of Evidence 502(d).

Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a review

of documents, ESI or information (including metadata) for relevance, responsiveness and/or

segregation of privileged and/or protected information before production.

       9.       Notwithstanding the designation of information as “CONFIDENTIAL” in

discovery, there is no presumption that such information shall be filed with the Court under seal.

For requests to file information under seal, the parties shall follow the individual rules of the judge

for whom the information is being submitted, as well as Section 6 of the Court’s ECF Rules &

Instructions.




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         10.    At the conclusion of litigation, Confidential Information and any copies thereof shall

be promptly (and in no event later than 30 days after entry of final judgment no longer subject to

further appeal) returned to the producing party or, upon permission of the producing party,

destroyed.

         11.    Nothing herein shall preclude the parties from disclosing material designated to be

Confidential Information if otherwise required by law or pursuant to a valid subpoena.

         12.    When a producing party gives notice to receiving parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision

is not intended to modify whatever procedure may be established in an e-discovery order that

provides for production without prior privilege review. Pursuant to Federal Rule of Evidence

502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

communication or information covered by the attorney-client privilege or work product

protection, the parties may incorporate their agreement in a stipulated protective order submitted

to the court.

This Confidentiality Order does not bind the Court or any of its
personnel. The Court can modify this Order at any time. The Court
will retain jurisdiction over the terms and conditions of this
Order only for the pendency of this litigation. Any party wishing
to make redacted or sealed submissions shall comply with Rule 9 of
this Court's Individual Rules of Civil Procedure.



SO ORDERED.

Dated:                 28 2024
                March ____,                                   ___________________________
                New York, New York                             Honorable Katherine Polk Failla
                                                                United States District Judge


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                                             EXHIBIT A

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 CHENMING HOLDINGS (HONG KONG)
 LIMITED, a Hong Kong limited company,

                                Plaintiff,
                                                         Civil Case No. 1:24-cv-00935-KPF
                    -against-
                                                         DISCOVERY CONFIDENTIALITY
                                                         ORDER
 JOHN DOES 1-10, individuals and/or entities
 whose names are currently unknown to Plaintiff,

                                Defendants.



        I, ____________________________, acknowledge that I have read and understand the

Discovery Confidentiality Order in this action governing the non-disclosure of those portions of

discovery material that have been designated as Confidential. I agree that I will not disclose such

material to anyone other than for purposes of this litigation, and that at the conclusion of the

litigation I will either return all discovery material to the party or attorney from whom I received

it, or upon permission of the producing party, destroy such discovery material. By acknowledging

these obligations under the Discovery Confidentiality Order, I understand that I am submitting

myself to the jurisdiction of the United States District Court for the Southern District of New York

for the purpose of any issue or dispute arising hereunder and that my willful violation of any term

of the Order could subject me to punishment for contempt of Court.




       Dated: __________________ , 2024



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__________________                  ____________________
Name (printed)                      Signature


Signed in the presence of:

__________________
(Attorney)




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